Case 2:05-cr-20177-SH|\/| DocumentSO Filed 06/21/05 PagelofS Pa D82

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IN THE UNITED STATES DISTRICT coURT

FOR 'I`HE WESTERN DISTRICT OF TENNESSEEUS JUN 2| PH 3: h j

WESTERN DIVISION
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U.S. D|ST. CT.
UNITED STATES OF AMERICA, § &§Flé?: TN' MEMFHES
Plaintiff, ) CR. NO. 05-20177-Ma
)
vs. )
)
CHARLES L. PRICE, et al., )
)
Defendants, )

M

Upon consideration of the Government's Motion to Allow Disclosure of Sealed Search
Warrant and Title HI Materials in Discovery, it is hereby:

ORDERED, ADIUDGED AND DECREED that copies of the following documents may
be provided to each of the defendants and their attorneys in United States v. Charles L. Price, et
al., Cr. No. 05-20177-Ma:

l. the search Warrants and applications in Misc. Nos. 05-SW-054, 05-SW-055, 05-SW-

056, and 05-SW¢057 (W.D. Tenn.), and 05-2011-SAA (N.D. Miss.); and

2. the Title UI applications, orders and affidavits in Misc. No. 04-WT-001 (W.D. Tenn.)

dated May 24, 2004, and June 24, 2004.

IT IS FURTHER ORDERED that the above-mentioned documents and their contents
shall not be discussed, disseminated or disclosed to anyone other than the named defendants and
their counsel, or the staff of their counsel (f`ull time secretaries and attorneys formally associated
With the law flrm), except upon the express authorization of this Court.

IT IS FURTHER ORDERED that the above-mentioned documents that are currently

under seal shall remain sealed alter the attorn ys have been provided copies.

  
 

Thls document entered on the docket sh atl
with Ru|a 55 and/or 32(b) FFlCrP on

 

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IT IS FURTHER ORDERED that any attorney receiving the above-described items is not

to disclose any information therein other than to prepare for trial and for the defense of his/her

Cll€l'll§. WC__-
Date: 5""' w h`f €M

Mernphis, Tennessee United States District Court Judge

 

APPROVED:
Thomas A. Colthurst
Assistant U.S. Attorney

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 80 in
case 2:05-CR-20177 Was distributed by faX, mail, or direct printing on
June 22, 2005 to the parties listed.

 

 

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Honorable Sarnuel Mays
US DISTRICT COURT

